 

-__-_-Gaee-i-Eb§-ev-G@-l-}Q-A=H>+=H:&-Deeument%£ Filed 01/25/17 Page 1 of 9

 

 

 

 

 

 

 

 

UNITED sTATEs DIsTRlCT CoURT ‘ USDC SDNY
soUTHERN DIsTRiCT oF NEw YoRK DOCUMENT
____________________________________ X ELECTRONICALLY FILED
sTEvEN GREER, ; DOC #:
Plaintif`f, DATE FILED: {m/ .
- against - § pocket N<).; is-Cv-osi 19 v
' (A.IN)(JLC)

DENNIS MEHIEL, ROBERT SERP[CO, THE
HUGH L. CAREY BAT'I`ERY PARK CI'I`Y
AUTHORITY, HOWARD MILSTEIN, STEVEN
ROSSI, JANET MARTFN, MILFORD
MANAGEMENT, and MARINERS COVE SITE B
ASSOCl/\TES,

Defendants.

____________________________________

STIPULATION AND ORDER GOVERNING THE PRODUCTION
AND EXCHANGE OF CONFIDENTIAL INFORMATION

lT lS HEREBY STIPULATED AND AGREED, by and between Plaintiff Steven Greer;
counsel for Def`endants the Hugh L. Carey Battery Park City Authority and Robet‘t Serpico; and
counsel for Defendants Howard Milstein, Steven Rossi, Janet Martin, Milf`ord Management and
Mariners Cove Site B Associates (collectively the “Parties”) subject to the approval of the Court,
that the following Stipulation and Order shall govern the handling of confidential information,
including documents, deposition transcripts, deposition exhibits, and other written, recorded,
graphic, or electronic matters, including any information contained therein (hereinafter
sometimes referred to as “Disclosure Material”), produced during discovery or obtained pursuant-
to F.R.C,P. Rule 26, el. seq. by any party to this action (hereinafter sometimes referred to as the
“Producing Party”) responding to a document request, interrogatory, deposition notice,

subpoena or other discovery demand in this action.

 

Ca§g 1:15-cv-06119-A.]N-.]LC Document 232 Filed 01/25/17 Paoe 2 of 9

l. All Disclosure Material shall be used by the party receiving such material solely
for purposes of this litigation and for no other purpose.

2. in responding to a request for disclosure, the Producing Party may designate
Disclosure Material as “Confidential” for treatment pursuant to this Stipulation and Order.
“Confidential” material shall include the documents, testimony, and information that the
Producing Party, in good faith, considers to reflect confidential or proprietary research,
development, commercial, customer, personnel, medical, or business information, data, or plans.

3. The designation of Disclosure Material as “Confldential” for purposes of this
Stipulation and order shall be made in the following manner:

(a) with respect to documents or other materials (apart from deposition or
other pre-trial testimony and interrogatory responses): by affixing, at the time of copying, the
legend "Confidential,” as appropriate, to each page containing any so designated material, or
identifying a page range in a document accompanying the designation;

(b) with respect to deposition transcripts or other pre-trial testimony: either by
a statement on the record, by counsel, at the time of disclosure, or by notifying counsel for all
other Pariies in writing (and either delivered by hand or transmitted by facsimile) within thirty
(30) days after receipt by counsel for the deponent or witness ofthe transcript of such deposition
or other pre~rrial testimony. Counsel for the party-deponent shall cause to be affixed the legend
“Confidential,” as appropriate, to the first page and all subsequent pages ofthe original transcript
that contains designated material, and to the first page, and all subsequent corresponding pages,
of all copies of such transcript. Only those portions of each transcript so designated shall be
deemed to be “Confidential” material. All transcripts of depositions or other pre-trial testimony

shall bc deemed to be “Confidential” until the end ofthe thirtieth (30) day after their receipt by

counsel l`oi' the deponent or witness; and

 

Case 1:15-cv-06119-A.]N-.]LC Document 232 Filed 01/25117 Page 3 of 9

(c) with respect to interrogatory responses: by stating, in the interrogatory
response, that it contains “Confidential” material.

(d) lf at any time before the trial of this action a Producing Party realizes that
it should have designated as Conftdential some portion(s) of Disclosure Material that it
previously produced without limitation, the Producing Party may so designate such material by
so apprising all prior recipients in writing. Therealter, this Court and all persons subject to this
Order will treat such designated portion(s) ofthe Disclosure Material as Conftdential.

4. (a) “Confidential" material may be disclosed, summarized, described,
charactci~ized, or otherwise communicated or made available, in whole or in part, by the
receiving party only to the following persons:

(i) the Parties in this action, their insurers and counsel to such insurers,

outside and inside counsel who represent Parties in this action, and regular and temporary

employees of those counsel assisting in the conduct of this action, for use in accordance
with this Stipulation and Order;

(ii) outside independent consultants or experts assisting counsel for the Parties

in this action (including potential experts);

(iii) actual or potential deponents or witnesses in this action, and their counsel,

during the course of, or to the extent necessary in preparation for, deposition or trial

testimony in this action, or to the extent necessary to determine whether they are proper
deponents or witnesses in this action;

(iv) Judges, clerks, or other members or employees of any court of competent

jurisdiction over proceedings in or related to the instant action or any law enforcement

agency, or stenographers and videographers engaged to transcribe or record the Parties’

conduct in this action;

 

CaSe 1:15-cV-06119-A.]N-.]LQ DQQiingt 232 Filed Ql[25[17jage 4 of 9

(v) Any mediator or arbitrator mutually agreed to by the Parties to attempt to

resolve this aetion; and/or

(vi) Any individual who has already seen such document

5. A copy of this Stipulation and Order shall be given to each person identified in
Paragrapli 4(a)(ii) and 4(a)(iii) above who will receive “Confidential” material before such
material is disclosed to'the person; and each such person shall be expressly advised that such
material shall not bc used or further disclosed contrary to the terms of this Stipulation and Order.
In addition, each such person shall agree, in writing, in the form annexed hereto as Exhibit A, to
be bound by thc provisions ofthis Stipulation and Order before such material is disclosed to the
person. Counsel or the Party responsible for obtaining an executed version of Exhibit A must
retain each signed Non-Disclosure Agreement, hold it in escrow, and produce it to opposing
counsel (or, if unrepresented, an opposing Party) either before such person is permitted to testify
(at deposition or trial) or at the conclusion of the case, whichever comes first. This Stipulation
and Order is intended only to govern the procedures for disclosure of confidential documents,
material, and information Nothing contained in this Stipulation and Order is intended to, or shall
be construed to, waive any objections by any party, including, but not limited to, objections on
the grounds of privilege and/or confidentiality, to any requests for discovery by any other party
in this aetion.

6. This Stipulation and Order has no effect upon, and shall not apply to any
Producing Party’s use of its own “Confidential” material for any purpose not related to this
litigation.

7. Neitlier counsel nor the parties shall disclose any “Confidential” material in any

couit liearing, or other proceeding before this Court, open to the public, without flrst providing

reasonable notice to the Producing Party,

 

Case 1:15-&06119-A.]N-.]LC Doctiment 232 Fi|eo| 01/25/17 Paoe 5 of 9

8. All pleadings or other court filings that incorporate or disclose “Confidential”
material that a party wishes to file as an exhibit or for another legitimate purpose with the Court
shall be filed pursuant to the Court’s practices for filing documents under seal and/or redactions,
see ludge Nathan’s individual Rules l(B) and 4(A), and as directed by the Court.

‘). Within forty-five (45) calendar days after the conclusion of this action in its
entirety, all persons to whom “Confidential” material was produced or disseminated shall either:
(a) return all such material and all copies thereof to counsel for the party that produced it; or (b)
destroy all such material in their possession in a manner that ensures that such material will not
be disclosed or disseminated or recovered by any person. With respect to such information that
has been incorporated into court papers, transcripts, exhibits used in affidavits, at depositions,
and at ti'ial, and attorney work product, including such materials containing, quoting, discussing,
or analyzing “Conf`idential" matcrial, a Party may, subject to Court appro‘.'al, remove and return
or destroy such information, or may redact all such information. By the 45-day deadline, the
person returning or destroying the Confidential material must certify such return or destruction
by submitting a written certification to the Producing Party that affirms that the certifying person
has not retained any copies, abstracts, compilations, summaries, or other forms of reproducing or
capturiiig any of the Confidential Disclosure Material. Notwithstanding this provision, any
attorney that any Party has specifically retained for this action may retain an archival copy of all
pleadings motion papers, ti'anseripts, expert reports, legal memoranda, correspondence, or
attorney work product, even if such materials contain Conf`idential Disclosure Material. All
materials returned to the Parties or their counsel by the Court likewise shall be disposed of in
accordance with this paragraph. “Conclusion of this action in its entirety,” as used above, means

after all appeal periods have expired or after the execution of a settlement agreement and

 

CB.S€ lilB-§;y-OGllQ-A,]N-,]LQ DQQleQDI 232 E'|le Ql[25117 Page 6 Of 9

stipulation ofdiscontinuance among all the Parties is so ordered, finally disposing ofthis action,
and, in any event, not before the completion ofall collection proceedings

lO. The provisions of this Stipulation and Order shall remain in full force and effect
as to any person or party who has obtained access to documents, testimony or other material
designated “Confidential” liereunder, and who ceases to be engaged in the preparation for trial or
in the trial of this action, except as may be specifically ordered by the Court or consented to by
the Producing Paity. Any such person who ceases to be engaged in the preparation for trial or in
the trial of this action shall return or destroy any material designated “Confidential,” and that
person shall provide the written certification of return or destruction described in Paragraph 9,
and that person's access to documents, testimony, or other information so designated shall be
terminated

l l. During the pendency of this action, any Party may object to the designation of
particular material as "Con|ideiitial" by a Producing Party. lfthe Parties are unable to resolve the
matter after making a good faith el`fort, the party objecting to the designation may move, at any
time after five (5) business days from the date of the above-written object ion, for an order from
this Court vacating the designation While such an application is pending, the document,
testimony, or other information in question shall be treated as “Confidential” or as directed by
the designating party, pursuant to this Stipulation and Order. The Producing Party shall have the
burden of persuading the Court that good cause exists for the designation of “Confidential” or
material.

12. 'l`lic specification of` appropriate safeguards concerning evidence at trial is
specifically reserved l`or action by tlie Court or later agreement by the Parties at or before trial.
Aceordingly, tlie identification of any information or document as “Confidential” hereunder shall

not iii any manner limit any Party’s ability to introduce such information or document at trial, but

 

CHS€ 1'15-CV-06119;AJN-JLC DO(‘llmPnT 232 Flit=\(l 01/2'~')/17 PHQP 7Qf Q

eaclt Party reserves the right to raise any objection to such information or document being
admitted at trial based upon the Federal Rules of Evidence or Federal Rules. of Civil Procedure.

13. lf. in connection with this litigation and despite a Producing Party having taken
reasonable steps to prevent the disclosure of information that it claims is subject to a claim of
attorney-client privilege or attorney work product, a Party inadvertently discloses information
subject to a claim of attorney-client privilege or attorney work product protection (“Inadvertently
Disclosed lnlbrmation"), such disclosui‘e, in itself, shall not constitute or be deemed a waiver or
forfeiture of any claim of privilege or work product protection with respect to the Inadvertently
Disclosed information and its subject matter.

l4. ll`a Producing Party makes a claim of inadvertent disclosure, the receiving Party
shall, within live business days, return or destroy all copies of the lnadvertently Disclosed
Inf`ormation, and provide a certification that all such information has been returned or destroyed.

l5. 'l`his Order will survive the termination ofthe litigation and will continue to be
binding upon all persons to whom Confidential Disclosure Material is produced or disclosed.

l(). 'l'his Court will retain jurisdiction over all persons subject to this Order to the
extent necessary to enforce any obligations arising hereunder or to impose sanctions for any

contempt thereol`.

Dated: .lanuary _2_§_, 2017
STEVEN GREER

By ;M/%(' /£:ljjfgz//Z//'

Steven Greer

4674 Tatersall Court
Columbus, Ohio 43230
Phone: (212) 945-7252

 

Pro Se Plaintijf

 

Case 1:15-cv-06119-A.]N-.]LC Document 232 Filed 01/25/17 Page 8 of 9

 

y =.t:/iin .l.( ttiint'll
".it'lii~l'i:iel Gibaldi
80 Broad St., 13th [-`loor
New York, New York 10004
Phone: 212-421-2|50

Arl'orneysfr)r the Hugh L. C¢u'ey Batlery
park Cin Authoril`y and Roberr Se)'picr)

ROSF.NBERG & ESTIS, P.C.

at t xi tr /r/‘\.t:/r f -
ltc`l')iir;ili E. Riegel
isaac 'l`ilton
733 Third Avenue
New York, New York 10017
Phone: (212) 867-6000

/t/!r)rneysfr)r Hr)ward rlJi/.s'lei)z= Steven
Rt).r.ti, Janet Marti`n, Mi_l/Z)rd Management
and Mar'iners Cct»‘e S)`/e 13 A.s‘_~.'r)ci'ares

Sr ;t-i¢;i'tf*~ MDLZ J W

l _, Hon. J mes L. Cott
l"b M“ T Unite States Magistrate Judge

jj / bg //§/-

 

CB.S€ 1215-CV-06119-A.]N-.]LC DOCUm€n'[ 232 Flled 01/25/17 JQHQP 9 of 9

EXHIBIT A
UNlTED STA'l`ES DlSTRlCT COURT
SOUTHERN DlSTRlCT OF NEW YORK

.................................... X
STEVEN GREER, '

Plaintiff,

-against - : Docket No.: 15-CV-06ll9
' (AJN)(JLC)

DENi\`lS l\/ll?i-lll§lc, ROBERT SERPlCO, THE :
HU(ill l.. CARliY BA'l`TERY PARK CiTY : NON-DISCLOSURE
AU'l`l lORl'l`Y, l'lOWARD i\/llLSTEIN, STEVEN : AGREEMENT
ROSSl, JANET MARTIN, MILFORD '
MAN/\GEMENT, and MARINERS COVE SITE B
ASS()C|A'I`ES. :

Defendants. :
.................................... X

, acknowledge that I have read and understand the

 

Stipulation and Order Governing the Production and Exchange of Confideritial lnformation
(“Protectivc Order”) in this action governing the non-disclosure ofthose portions of Disclosure
Material that have been designated as Confidential. l agree that I will not disclose such
Conlidcntial D isc losure Material to anyone other than for purposes of this litigation and that at
the conclusion of the litigation l will return all discovery information to the Party or attorney
from whom l received it, along with a certification to that eff`ect. By acknowledging these
obligations under the Protective Order, I understand that I am submitting myself to the
jurisdiction ofthe Unitcd States District Court for the Southem District ofNew York for the
purpose ofany issue or dispute arising hereunder and that my willful violation ofany term ofthe

Proiceiive Order could subject me to punishment for contempt ofCourt.

 

Datcd:

